       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 1 of 20
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   June 06, 2018
                                   IN THE UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

PRESTON WOOD & ASSOCIATES,                            §
LLC,                                                  §
     Plaintiff,                                       §
                                                      §
v.                                                    §    CIVIL ACTION NO. H-16-1427
                                                      §
RZ ENTERPRISES USA, INC., et al.,                     §
     Defendants.                                      §

                                             MEMORANDUM AND ORDER

           This architectural copyright case is before the Court on the Motion for Partial

Summary Judgment (“Motion”) [Doc. # 109] filed by Plaintiff Preston Wood &

Associates, LLC (“Preston Wood”). Defendants UL, Inc. d/b/a Urban Living (“Urban

Living”) and Vinod Ramani filed a Response [Doc. # 117], and Plaintiff filed a Reply

[Doc. # 120].1 Having reviewed the record and the applicable legal authorities, the

Motion is granted in part and denied in part.

I.         BACKGROUND

           Preston Wood is an architectural design firm. Urban Living is a real estate

development firm, and Ramani is its Chief Executive Officer (“CEO”). Preston Wood

alleges that it owns valid copyrights in architectural works and technical drawings.

1
           Plaintiff also filed Objections to portions of Defendants’ Summary Judgment
           Evidence [Doc. # 118]. Defendants filed a Response [Doc. # 124], and Plaintiff
           filed a Reply [Doc. # 125].
P:\ORDERS\11-2016\1427MPSJ.2.wpd    180606.1447
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 2 of 20




           Preston Wood and Urban Living entered into a “Design Only/Stock Plan

License Agreement” (the “Agreement”) in January 2014. The Agreement had a one-

year term, with a provision for renewal for an additional year if requested in writing

by Urban Living at least thirty days prior to the scheduled termination date. See

Agreement, Exh. 14 to Motion, ¶ 1.b. The parties did not renew the Agreement for

the second year.

           Plaintiff alleges that Urban Living and Cameron Architects, Inc. (“Cameron”)

entered into a partnership in February 2014. Plaintiff alleges that beginning in

March 2014, the Urban Living/Cameron partnership was entering into contracts with

customers under which Cameron would create derivatives of Preston Wood’s

architectural works.

           Preston Wood alleges that Urban Living failed to comply with certain

conditions precedent and, therefore, Urban Living’s use of Preston Wood’s

copyrighted works constitutes copyright infringement. Defendants dispute that the

Agreement terms at issue were conditions precedent, and they have asserted the

affirmative defenses of (1) implied license and (2) innocent infringement.

           Plaintiff moves for summary judgment on Defendants’ affirmative defenses and

various legal or factual issues in the case, but does not seek summary judgment on any

of its claims entirely. The Motion has been fully briefed and is now ripe for decision.


P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   2
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 3 of 20




II.        STANDARD FOR SUMMARY JUDGMENT

           Rule 56 of the Federal Rules of Civil Procedure provides for the entry of

summary judgment against a party who fails to make a sufficient showing of the

existence of an element essential to his case and on which he will bear the burden of

proof at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Curtis v.

Anthony, 710 F.3d 587, 594 (5th Cir. 2013); Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994) (en banc). Summary judgment “should be rendered if the

pleadings, the discovery and disclosure materials on file, and any affidavits show that

there is no genuine issue as to any material fact and that the movant is entitled to

judgment as a matter of law.” FED. R. CIV. P. 56(a); Celotex, 477 U.S. at 322-23;

Curtis, 710 F.3d at 594.

           For summary judgment, the initial burden falls on the movant to identify areas

in which there is an “absence of a genuine issue of material fact.” ACE Am. Ins. Co.

v. Freeport Welding & Fabricating, Inc., 699 F.3d 832, 839 (5th Cir. 2012). The

moving party may meet its burden by pointing out “the absence of evidence

supporting the nonmoving party’s case.” Malacara v. Garber, 353 F.3d 393, 404 (5th

Cir. 2003) (citing Celotex, 477 U.S. at 323; Stults v. Conoco, Inc., 76 F.3d 651, 656

(5th Cir. 1996)).




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   3
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 4 of 20




           If the moving party meets its initial burden, the non-movant must go beyond the

pleadings and designate specific facts showing that there is a genuine issue of material

fact for trial. See Gen. Universal Sys., Inc. v. Lee, 379 F.3d 131, 141 (5th Cir. 2004);

Littlefield v. Forney Indep. Sch. Dist., 268 F.3d 275, 282 (5th Cir. 2001) (internal

citation omitted). “An issue is material if its resolution could affect the outcome of

the action.” Spring Street Partners-IV, L.P. v. Lam, 730 F.3d 427, 435 (5th Cir.

2013). “A dispute as to a material fact is genuine if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” DIRECT TV Inc. v.

Robson, 420 F.3d 532, 536 (5th Cir. 2006) (internal citations omitted).

           In deciding whether a genuine and material fact issue has been created, the

court reviews the facts and inferences to be drawn from them in the light most

favorable to the nonmoving party. See Reaves Brokerage Co. v. Sunbelt Fruit &

Vegetable Co., 336 F.3d 410, 412 (5th Cir. 2003). “‘Conclusional allegations and

denials, speculation, improbable inferences, unsubstantiated assertions, and legalistic

argumentation do not adequately substitute for specific facts showing a genuine issue

for trial.’” Pioneer Exploration, L.L.C. v. Steadfast Ins. Co., 767 F.3d 503, 511 (5th

Cir. 2014) (quoting Oliver v. Scott, 276 F.3d 736, 744 (5th Cir. 2002)); accord Delta

& Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 399 (5th Cir.

2008). In the absence of any proof, the court will not assume that the non-movant


P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   4
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 5 of 20




could or would prove the necessary facts. Little, 37 F.3d at 1075 (citing Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 888 (1990)).

           The Court may make no credibility determinations or weigh any evidence. See

Chaney v. Dreyfus Serv. Corp., 595 F.3d 219, 229 (5th Cir. 2010) (citing Reaves

Brokerage, 336 F.3d at 412-13). The Court is not required to accept the nonmovant’s

conclusory allegations, speculation, and unsubstantiated assertions which are either

entirely unsupported, or supported by a mere scintilla of evidence. Id. (citing Reaves

Brokerage, 336 F.3d at 413); accord, Little, 37 F.3d at 1075. Affidavits cannot

preclude summary judgment unless they contain competent and otherwise admissible

evidence. See FED. R. CIV. P. 56(c)(4); Love v. Nat’l Med. Enters., 230 F.3d 765, 776

(5th Cir. 2000).

III.       COPYRIGHT INFRINGEMENT CLAIM

           To prevail on a claim of copyright infringement, “a party must show that (1) he

owns a valid copyright and (2) the defendant copied constituent elements of the

plaintiff’s work that are original.” Baisden v. I’m Ready Productions, Inc., 693 F.3d

491, 499 (5th Cir. 2012) (internal quotations and citation omitted). Plaintiff seeks

summary judgment only on the first element – that it owns valid copyrights in its

architectural works and technical drawings.




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   5
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 6 of 20




           “To qualify for copyright protection, a work must be original to the author.”

Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 345 (1991). Defendants

argue that Plaintiff’s architectural works and technical drawings lack adequate

originality for copyright protection.

           As an initial matter, Defendants acknowledged and agreed in the Agreement

that Plaintiff owns valid copyrights in the subject works. See Agreement, ¶ 3. Having

contractually admitted that Plaintiff’s copyrights are valid, Defendants cannot now

challenge their validity. See Tacori Enters. v. Nerces Fine Jewelry, 2013 WL

12113229, *5 n.6 (C.D. Cal. Sept. 20, 2013).

           Moreover, a certificate of registration from the Copyright Office gives rise to

a rebuttable presumption that the copyright is valid. See 17 U.S.C. § 410(c)

(certificates of registration “constitute prima facie evidence of the validity of the

copyright[s]”); Norma Ribbon & Trimming, Inc. v. Little, 51 F.3d 45, 47 (5th Cir.

1995). Plaintiff has presented uncontested evidence that it has Certificates of

Registration for each of the architectural works and technical drawings at issue. See

Certificates of Registration, Exhs. 3-13 to Motion. Therefore, Defendants must

present evidence that raises a genuine issue of material fact regarding “originality”

sufficient to overcome the presumption.              Defendants do not present evidence




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   6
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 7 of 20




regarding the lack of originality in the technical drawings. As a result, Plaintiff is

entitled to summary judgment that it owns valid copyrights in those drawings.

           Defendants have challenged the originality of Plaintiff’s architectural works.

A defendant who challenges the originality of copyrighted material has the burden to

overcome the presumption of validity by presenting either (1) proof that the product

was copied from other works, or (2) similarly probative evidence regarding the lack

of originality. See Lennar Homes of Texas Sales & Mktg., Ltd. v. Perry Homes, LLC,

117 F. Supp. 3d 913, 930 (S.D. Tex. 2015) (citing Masquerade Novelty, Inc. v. Unique

Indus., Inc., 912 F.2d 663, 668-69 (3d Cir. 1990)). Defendants have presented no

evidence that Plaintiff’s architectural works were copied from others’ works.

           “The originality of an architectural work is determined by examining ‘the

overall form [of the work] as well as the arrangement and composition of spaces and

elements in the design.’” Danze & Davis Architects, Inc. v. Legend Classic Homes,

Ltd., 2011 WL 2940671, *3 (S.D. Tex. July 19, 2011) (quoting 17 U.S.C. § 101). For

architectural works, “the overall work can be original even if it is made up of

individual elements that are not protected.” Id. (citing Oravec v. Sunny Isles Luxury

Ventures, L.C., 527 F.3d 1218, 1225 (11th Cir. 2008); T–Peg, Inc. v. Vermont Timber

Works, Inc., 459 F.3d 97, 110 (6th Cir. 2006); Sturdza v. United Arab Emirates, 281




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   7
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 8 of 20




F.3d 1287, 1297 (D.C. Cir. 2002); Interplan Architects, Inc. v. C.L. Thomas, Inc.,

2010 WL 4366990, *33 (S.D. Tex. Oct. 27, 2010)).

           Defendants have presented the Affidavit of Vinod Ramani, who opined that

factors such as “market demand, development criteria, regulations and other external

factors” dictate the “eventual design of the properties at issue rather than creative

output by [Preston Wood].” See Ramani Aff., Exh. 1 to Response, ¶ 13. Defendants

also present the Affidavit of their expert, Leonard Bachman, Exh. 7 to Response. In

his Affidavit, Bachman conflates originality and creativity. See Bachman Aff., ¶ 4.

He states that Plaintiff’s works are at the “most extreme low point . . . on the

normative-to-critical scale of creativity and originality.” Id. He states that Plaintiff’s

works lack evidence of “an effort to transcend” the practical parameters dictated by

the townhouse market and such factors as regulations, the economy and conventional

approaches. See id., ¶ 5. He states that the designer displayed “ambivalence toward

any specific look and feel.” Id. Bachman expands on these opinions in his Letter

Report, Exh. 8 to Response. He spends multiple pages of the nine-page Report

discussing creativity in architecture and the importance of “critical design” by

architect’s such as Frank Lloyd Wright. See Letter Report, pp. 2-4. He recognizes

originality only if it is “critically worthy” and expresses a meaningful idea. See id. at

pp. 3-4. He concedes that Plaintiff’s architectural works contain design elements, but

complains that they are “merely decorative and arbitrary.” See id. at p. 5.
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   8
       Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 9 of 20




           Defendants’ evidence, while interesting reading, does not address the issue of

originality for purposes of copyright law.2 Originality for copyright purposes does not

require that the work be novel or express a meaningful underlying idea, only “that the

work was independently created by the author (as opposed to copied from other

works), and that it possesses at least some minimal degree of creativity.” See Feist,

499 U.S. at 345. “[T]he requisite level of creativity is extremely low; even a slight

amount will suffice.” Id. Indeed, the originality requirement amounts to “little more

than a prohibition of actual copying.” Lennar Homes, 117 F. Supp. 3d at 930 (quoting

Alfred Bell & Co. v. Catalda Fine Arts, 191 F.2d 99, 103 (2d Cir. 1951)). Bachman

does not opine that Preston Wood’s architectural works were copied, and he concedes

that they have some minimal creativity. His opinion, as well as that of Ramani, that

Plaintiff’s architectural works lack creativity because they consist of features that are

necessitated by industry standards or market demands does not create a fact dispute


2
           In his Affidavit, Bachman states that he is “confident that the average layperson,
           informed consumer, knowledgeable homebuilder, or qualified design professional
           would not identify the [Preston Wood] design as an original product if any of those
           people were choosing from a representative sample of speculative market townhouse
           designs of this type.” Bachman Aff., ¶ 6. In his Report, he states that he believes “a
           survey of comparable townhouse projects in Houston or other urban markets would
           surely conclude that the [Preston Wood body of work] is merely derivative of the
           collective body of speculative market townhouse design in the U.S. today.” Report,
           p. 4. There is no evidence, however, that Bachman has conducted any relevant
           surveys. Therefore, his beliefs regarding what relevant surveys would reveal should
           he conduct them is improper summary judgment evidence and is not considered by
           the Court.
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   9
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 10 of 20




regarding whether the works are original for purposes of copyright validity. See

Danze & Davis, 2011 WL 2940671 at *5 (citing Interplan Architects, 2010 WL

4366990 at *33). As a result, Defendants have failed to present evidence regarding

originality sufficient to rebut the presumption of copyright validity. The Court grants

Plaintiff’s request for summary judgment that it has a valid copyright in the

architectural works and technical drawings at issue in this case.

IV.        REQUESTS FOR DECLARATIONS REGARDING AGREEMENT

           Plaintiff seeks summary judgment on its request for declaratory judgment on

the following statements: (1) Urban Living never complied with the conditions

precedent to sublicense; (2) construction of homes by purported Urban Living

sublicensees was not authorized under the Agreement; (3) Urban Living did not

comply with the conditions precedent to engage outside design professionals to

modify [Preston Wood’s] works; (4) Urban Living’s purported sublicensees did not

have any right to modify or engage outside design professionals to modify [Preston

Wood’s] works; (5) Urban Living’s engagement of outside design professionals to

modify [Preston Wood’s] works caused the automatic termination of the Agreement;

(6) other than completing the construction of houses properly licensed as of the date

of termination, no other use of [Preston Wood’s] works was authorized by the

Agreement. Plaintiff’s request for summary judgment on each of these statements is


P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   10
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 11 of 20




based, at least in part, on Urban Living’s failure to comply with purported “conditions

precedent” in the Agreement. Whether the relevant Agreement provisions are

conditions precedent is a matter that is contested by Defendants and that has not been

decided in this case. For that reason, the Court denies the Motion for Summary

Judgment on these six statements.

           As an additional basis for denying the Motion regarding these statements, the

Court finds a genuine issue of material fact regarding whether most of the relevant

terms of the Agreement are conditions precedent. “A condition precedent is either an

act of a party that must be performed or a certain event that must happen before a

contractual right accrues or a contractual duty arises.” In re Deepwater Horizon, 786

F.3d 344, 361 (5th Cir. 2015); see also Solar Applications Eng’g, Inc. v. T.A.

Operating Corp., 327 S.W.3d 104, 108 (Tex. 2010). To determine whether a

provision in a contract is a condition precedent, rather than simply a contractual

promise or “covenant,” a court examines the parties’ intent as manifested in the

contract. See Interstate Contracting Corp. v. City of Dallas, Tex., 407 F.3d 708, 727

(5th Cir. 2005) (citing Criswell v. European Crossroads Shopping Ctr., Ltd., 792

S.W.2d 945, 948 (Tex. 1990)). Conditions precedent are disfavored, and “when the

parties’ intent is ambiguous the terms will be construed as covenants.” Id.




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   11
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 12 of 20




           There are undertakings in the Agreement that are clearly and unequivocally

identified as “a strict condition precedent” to certain terms of the license granted by

the Agreement. For example, the requirement that Urban Living notify Preston Wood

in writing of the address of intended construction using the copyrighted architectural

works and technical drawings, and pay an appropriate fee, is clearly identified as “a

strict condition precedent” to Preston Wood’s license for Urban Living to construct

and sell the building. See Agreement, ¶ 1.a. Similarly, the requirements regarding

copyright management information is clearly identified as a “strict condition

precedent” to the licensing of reproductions and derivative works. See Agreement,

¶ 4. Each of these two provisions is clearly identified in the Agreement as a “strict

condition precedent” and, therefore, each is construed as such.

           None of the other provisions in the Agreement, however, uses this same clear

language. For example, Plaintiff alleges that Defendants failed to comply with terms

in the Agreement relating to sublicenses and engaging outside professionals to modify

Preston Wood’s works. See, e.g., First Amended Complaint [Doc. # 39], ¶¶ 49-50.

The provisions in the Agreement requiring certain conduct in connection with

sublicenses and modification of Preston Wood’s works, however, do not include the

language identifying them as “a strict condition precedent.” See Agreement, ¶¶ 1.c;

2. Because these terms, while using “conditioned on” language, do not use the clear


P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   12
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 13 of 20




and unambiguous term “a strict condition precedent” used elsewhere in the

Agreement, evidence of the parties’ intent is relevant.

           Defendants have presented evidence regarding the parties’ intent at the time

they entered into the Agreement. Specifically, Defendants have presented evidence

of the parties’ course of dealing for several years and their intent to continue

conducting business in the same manner.3 This evidence is sufficient to raise a

genuine issue of material fact regarding whether the terms of the Agreement, other

than the two that are clearly identified as “a strict condition precedent,” were intended

by the parties to be covenants or conditions precedent. As a result, on this basis also,

Plaintiff’s motion for summary judgment on its request for declaratory judgment is

denied as to all six identified statements.

V.         AFFIRMATIVE DEFENSES

           Plaintiff seeks summary judgment on Defendants’ affirmative defenses of

implied license and innocent infringement.



3
           To the extent the evidence is offered to prove intent that the Agreement terms were
           covenants rather than conditions precedent, the Court accepts Defendants’ evidence.
           To the extent the evidence is offered to prove waiver or some form of estoppel, the
           evidence is not relevant because waiver and estoppel are affirmative defenses. See
           FED. R. CIV. P. 8(c). “Failure to timely plead an affirmative defense may result in
           waiver and the exclusion of the defense from the case.” LSREF2 Baron, L.L.C. v.
           Tauch, 751 F.3d 394, 398 (5th Cir. 2014) (citing Morris v. Homco Int’l, Inc., 853 F.2d
           337, 342-43 (5th Cir.1988)). Defendants have not asserted waiver or estoppel as
           affirmative defenses in this case.
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   13
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 14 of 20




           A.          Implied License

           Defendants assert the affirmative defense of implied license. See Second

Amended Answer and Affirmative Defenses [Doc. # 97], ¶ 123. Because the

existence of an implied license authorizing the use of copyrighted material is an

affirmative defense to an allegation of infringement, Defendants bear the burden of

proving that an implied license exists. See Carson v. Dynegy, Inc., 344 F.3d 446, 451

(5th Cir. 2003). An implied, nonexclusive license may arise when the totality of the

parties’ conduct indicates an intent to grant such a license.4 See Baisden v. I’m Ready

Prods., Inc., 693 F.3d 491, 501 (5th Cir. 2012); Lulirama Ltd., Inc. v. Axcess

Broadcast Services. Inc., 128 F.3d 872, 879 (5th Cir. 1997); Energy Intelligence Grp.,

Inc. v. Kayne Anderson Cap. Advisors, LP, 2017 WL 363004, *6 (S.D. Tex. Jan. 24,

2017).          Courts have examined three factors to determine whether an implied

nonexclusive license exists:

           (1) whether the parties were engaged in a short-term discrete transaction
           as opposed to an ongoing relationship; (2) whether the creator utilized


4
           In 1997, the Fifth Circuit held that an implied nonexclusive license arises when “(1) a
           person (the licensee) requests the creation of a work, (2) the creator (the licensor)
           makes the particular work and delivers it to the licensee who requested it, and (3) the
           licensor intends that the licensee-requestor copy and distribute his work.” Lulirama
           Ltd., Inc. v. Axcess Broadcast Servs., Inc., 128 F.3d 872, 879 (5th Cir. 1997). In
           2012, the Fifth Circuit acknowledged the Lulirama three-part test, but held that an
           implied license could “arise in other circumstances where the totality of the parties’
           conduct supported such an outcome.” Baisden v. I’m Ready Prods., Inc., 693 F.3d
           491, 501 (5th Cir. 2012).
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   14
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 15 of 20




           written contracts . . . providing that copyrighted materials could only be
           used with the creator’s future involvement or express permission; and (3)
           whether the creator’s conduct during the creation or delivery of the
           copyrighted material indicated that use of the material without the
           creator’s involvement or consent was permissible.

Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 514-16 (4th Cir. 2002);

Interplan Architects, Inc. v. C.L. Thomas, Inc., 2010 WL 4366990, *40 (S.D. Tex.

Oct. 27, 2010).

           In this case, the evidence is undisputed that the parties were engaged in an

ongoing relationship rather than in a discrete transaction. As noted above, the

Agreement had a one-year term, with a provision for renewal for an additional year.5

See Agreement, ¶ 1.b. It was during the original one-year term of the Agreement that

the alleged copyright infringement occurred. Additionally, it is undisputed that the

parties “have done business together for years, going back until well before the events

at issue in this lawsuit.” See Ramani Aff., ¶ 3.

           The second factor is whether there was a written contract providing that

copyrighted materials could only be used with the creator’s future involvement or

express permission.6 In this case, it is undisputed that the parties entered into the


5
           As noted above, there is no evidence that Urban Living submitted a written request
           for renewal of the Agreement for the additional year.
6
           Defendants argue that an express contract does not preclude recovery under an
           implied license, citing Fantastic Fakes, Inc. v. Pickwick Int’l, Inc., 661 F.2d 479 (5th
                                                                                      (continued...)
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447    15
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 16 of 20




Agreement, which provided clearly and unequivocally that certain conduct by

Defendants, conduct in connection with the Agreement and the copyrighted

architectural works and technical drawings, required prior written approval by

Plaintiff. See Agreement, ¶¶ 1, 2. The existence of a written Agreement providing

an express nonexclusive license subject to the terms of the Agreement weighs heavily

against the existence of an implied license. See, e.g., Kirtsaeng v. John Wiley & Sons,

Inc., 568 U.S. 519, 584 (2013) (discussing an implied license only to the extent that

express licenses do not exist); Lulirama, 128 F.3d at 879 (finding implied license as

to jingles that were written after the original Jingle Writing Agreement expired).

Indeed, under Texas law, quasi-contractual claims are unavailable when a valid,

express contract exists that governs the subject matter of the dispute. See Johnson v.




6
           (...continued)
           Cir. 1981). Defendants’ reliance on this case is troubling. Initially, and of least
           importance, Defendants cite to page 500 of the case, which ends at page 488. More
           importantly, the case was decided based on Georgia law and involved whether there
           was an implied condition in an express license. The Fifth Circuit held that there
           existed “an implied condition to the licensing agreement requiring the licensee to take
           actions to protect the rights retained by the licensor. Therefore, when the licensor has
           not manifested an intent to dedicate his copyright to the public domain, yet the
           licensee has failed to affix notice adequate to protect the licensor’s copyright, the
           courts have consistently found that the licensee was acting without authority of the
           licensor in distributing the copyrighted material.” Id. at 485-86. This case in no way
           supports Defendants’ argument that an express contract does not preclude the
           successful assertion of an implied license affirmative defense.
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447    16
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 17 of 20




Wells Fargo Bank, NA, 999 F. Supp. 2d 919, 929 (N.D. Tex. 2014); Quintel Tech.,

Ltd. v. Huawei Techs. USA, Inc., 2018 WL 446320, *7 (E.D. Tex. Jan. 17, 2018).

           The third factor is whether the copyright holder’s conduct during the delivery

of the copyrighted material indicated that use of the material without the creator’s

consent was permissible. As noted above, the uncontested evidence in this case

establishes that Plaintiff delivered the copyrighted works to Defendants subject to the

Agreement, which provided that certain conduct by Defendants in connection with the

Agreement and the copyrighted architectural works and technical drawings required

prior written approval by Plaintiff. See Agreement, ¶¶ 1, 2. Cases that have found the

existence of an implied license usually involved delivery of the copyrighted work

without restrictions. See, e.g., Hunn v. Dan Wilson Homes, Inc., 789 F.3d 573, 587

(5th Cir. 2015) (an implied nonexclusive license was created when the copyright

holder delivered plans for custom homes without any restrictions on the recipient’s

ability to use the delivered drawings); Hunn v. Dan Wilson Homes, Inc., 2014 WL

12584308, *12 (N.D. Tex. Jan. 29, 2014), aff’d, 789 F.3d 573 (5th Cir. 2015) (noting

that the intent of the parties was to grant an implied license for the use of custom

home plans “unless the parties explicitly agreed otherwise”).

           Consideration of the uncontested evidence in the case, and the three factors set

forth in Nelson-Salabes, demonstrates there is no genuine issue of material fact that


P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   17
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 18 of 20




Plaintiff did not intend to grant Defendants an implied license with terms different

from those set forth in the express license granted by the Agreement. Plaintiff is

entitled to summary judgment on Defendants’ implied license affirmative defense.

           B.          Innocent Infringement

           Defendants assert the affirmative defense of innocent infringement under 17

U.S.C. § 504(c)(2). See Second Amended Answer and Affirmative Defenses, ¶ 124.

The cited statute provides that “where the infringer sustains the burden of proving, and

the court finds, that such infringer was not aware and had no reason to believe that his

or her acts constituted an infringement of copyright, the court in its discretion may

reduce the award of statutory damages to a sum of not less than $200.”7 17 U.S.C.

§ 504(c)(2).

           In this case, Plaintiff has presented uncontroverted evidence that Defendants

had possession of Plaintiff’s works that bore a copyright notice as required by 17

U.S.C. § 401(b).8 Where, as here, the published copy or copies of the copyrighted

works to which the defendant had access contain the § 401(b) copyright notice, then


7
           Section 504(c)(2) does not provide a defense to the copyright infringement action but,
           instead, provides for a reduction in the minimum amount of statutory damages per act
           of infringement. 17 U.S.C. § 504(c)(2); Matthew Bender & Co. v. W. Pub. Co., 240
           F.3d 116, 123 (2d Cir. 2001).
8
           The copyright notice must include (1) the copyright symbol or the word “Copyright,”
           (2) the year of first publication of the work, and (3) the name of the owner of the
           copyright in the work. See 17 U.S.C. § 401(b).
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   18
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 19 of 20




“no weight shall be given to such a defendant’s interposition of a defense based on

innocent infringement” except as provided in the last sentence of section 504(c)(2),

which is inapplicable to the facts at bar.9 See Matthew Bender & Co. v. W. Pub. Co.,

240 F.3d 116, 123 (2d Cir. 2001); Lowry’s Reports, Inc. v. Legg Mason, Inc., 271 F.

Supp. 2d 737, 753 (D. Md. 2003). Therefore, Plaintiff is entitled to summary

judgment on the innocent infringement affirmative defense.

VI.        CONCLUSION AND ORDER

             Based on the foregoing, it is hereby

           ORDERED that Plaintiff’s Motion for Partial Summary Judgment [Doc. # 109]

is GRANTED as to the validity of Plaintiff’s copyrights, GRANTED on the

affirmative defenses of implied license and innocent infringement, and DENIED on

the request for declaratory judgment on the six statements identified in the Motion.




9
           The last sentence of § 504(c)(2) applies only if the infringer was:

                       (i) an employee or agent of a nonprofit educational institution, library,
                       or archives acting within the scope of his or her employment who, or
                       such institution, library, or archives itself, which infringed by
                       reproducing the work in copies or phonorecords; or

                       (ii) a public broadcasting entity which or a person who, as a regular part
                       of the nonprofit activities of a public broadcasting entity (as defined in
                       section 118(f)) infringed by performing a published nondramatic
                       literary work or by reproducing a transmission program embodying a
                       performance of such a work.
P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447         19
      Case 4:16-cv-01427 Document 130 Filed on 06/06/18 in TXSD Page 20 of 20




           SIGNED at Houston, Texas, this 6th day of June, 2018.




                                                          NAN Y F. ATLAS
                                                 SENIOR UNI   STATES DISTRICT JUDGE




P:\ORDERS\11-2016\1427MPSJ.2.wpd   180606.1447   20
